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                        Exhibit B
        Case No. 1:20-cr-00152-PAB Document 705-2 filed 10/22/21 USDC Colorado pg 2 of 8

$2 5HY 6XESRHQDWR7HVWLI\DWD+HDULQJRU7ULDOLQD&ULPLQDO&DVH


                                        81,7('67$7(6',675,&7&2857
                                                                            IRUWKH
                                                              District of Colorado
                                                         BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
                   8QLWHG6WDWHVRI$PHULFD
                              Y
                       Jayson Penn et al.                                              &DVH1R 1:20-cr-00152-PAB

                              'HIHQGDQW


                      SUBPOENA TO TESTIFY AT A HEARING OR TRIAL IN A CRIMINAL CASE

7R      Custodian of Records
         Claxton Poultry Farms
         304 Road Atlanta
         Bloomingdale, GA 31302


        YOU ARE COMMANDEDWRDSSHDULQWKH8QLWHG6WDWHVGLVWULFWFRXUWDWWKHWLPHGDWHDQGSODFHVKRZQ
EHORZWRWHVWLI\LQWKLVFULPLQDOFDVH:KHQ\RXDUULYH\RXPXVWUHPDLQDWWKHFRXUWXQWLOWKHMXGJHRUDFRXUWRIILFHU
DOORZV\RXWROHDYH
3ODFHRI$SSHDUDQFH UNITED STATES DISTRICT COURT                                      &RXUWURRP1R     A201
                               901 19th Street                                         'DWHDQG7LPH
                               Denver, CO 80294                                                           10/25/2021 9:00 am

           <RXPXVWDOVREULQJZLWK\RXWKHIROORZLQJGRFXPHQWVHOHFWURQLFDOO\VWRUHGLQIRUPDWLRQRUREMHFWV EODQNLIQRW
DSSOLFDEOH 
 Attachment A.
See
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



'DWH         10/20/2021
                                                                                       &/(5.2)&2857 , Jeffrey P. Colwell

                                                                                                        s/Nicholas Richards
                                                                                                 6LJQDWXUHRI&OHUNRU'HSXW\&OHUN



7KHQDPHDGGUHVVHPDLODQGWHOHSKRQHQXPEHURIWKHDWWRUQH\UHSUHVHQWLQJ QDPHRISDUW\
     United States of America          ZKRUHTXHVWVWKLVVXESRHQDDUH
    Michael Koeing - Trial Attorney
    U.S. Department of Justice, Antitrust Division
    450 5th Street, NW
    Washington, DC 20530
    Email: Michael.Koenig@usdoj.gov
    Phone: 202-616-2165
      Case No. 1:20-cr-00152-PAB Document 705-2 filed 10/22/21 USDC Colorado pg 3 of 8

$2 5HY 6XESRHQDWR7HVWLI\DWD+HDULQJRU7ULDOLQD&ULPLQDO&DVH 3DJH

&DVH1R 1:20-cr-00152-PAB

                                                                 PROOF OF SERVICE

           7KLVVXESRHQDIRU QDPHRILQGLYLGXDODQGWLWOHLIDQ\
ZDVUHFHLYHGE\PHRQ GDWH                                       

          u ,VHUYHGWKHVXESRHQDE\GHOLYHULQJDFRS\WRWKHQDPHGSHUVRQDVIROORZV


                                                                                      RQ GDWH                                    RU

          u ,UHWXUQHGWKHVXESRHQDXQH[HFXWHGEHFDXVH
                                                                                                                                                

          8QOHVVWKHVXESRHQDZDVLVVXHGRQEHKDOIRIWKH8QLWHG6WDWHVRURQHRILWVRIILFHUVRUDJHQWV,KDYHDOVR
          WHQGHUHGWRWKHZLWQHVVIHHVIRURQHGD\¶VDWWHQGDQFHDQGWKHPLOHDJHDOORZHGE\ODZLQWKHDPRXQWRI
                                                  

0\IHHVDUH                                      IRUWUDYHODQG                              IRUVHUYLFHVIRUDWRWDORI          0.00   


          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                                    6HUYHU¶VVLJQDWXUH



                                                                                                  3ULQWHGQDPHDQGWLWOH




                                                                                                     6HUYHU¶VDGGUHVV

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
Case No. 1:20-cr-00152-PAB Document 705-2 filed 10/22/21 USDC Colorado pg 4 of 8




 ATTACHMENT A:
 CLAXTON POULTRY FARMS CUSTODIAN OF RECORDS TRIAL SUBPOENA


 Claxton shall make available for testimony the Custodian(s) of Records competent to testify
 about and familiar with the following with respect to the documents listed in this attachment:
    ‐   Email authentication, including the storage of company emails, how emails are saved
        and maintained on the company’s server, how the company’s server is maintained, how
        the company’s email addresses are assigned to employees or employee accounts, how
        emails are transmitted and received from the accounts as reflected in the “to” and “from”
        entries, and how other related items such as calendar invitations and email attachments
        are made, saved, and maintained;
    ‐   Business record authentication, including how documents are saved and stored on the
        company’s server, how the server is maintained, whether documents were made and
        maintained during the course of regularly conducted business, and explanation as to
        why the entry on the record was reliable;
    ‐   How human resources records are made, saved, stored and maintained;
    ‐   How press releases are made, saved, stored, and maintained;
    ‐   And how all of the above documents were collected and produced in response to the
        grand jury subpoena.


             Trial Exhibit Number                                 Bates Number
                      100                                         CLA_0191682
                      101                                         CLA_0191683
                      316                                         CLA_0193638
                      317                                         CLA_0193640
                      318                                         CLA_0193715
                      578                                         CLA_0293131
                      600                                         CLA_0133081
                      701                                         CLA_0076034
                      702                                         CLA_0076096
                      703                                         CLA_0076099
                      704                                         CLA_0076100
                      705                                         CLA_0076258
                      706                                         CLA_0076259
                      762                                         CLA_0228956
                      763                                         CLA_0228957
                      900                                         CLA_0072794
                     1000                                         CLA_0078160
                     1001                                         CLA_0078169
                     1002                                         CLA_0078170
                     1003                                         CLA_0078182
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           Trial Exhibit Number                     Bates Number
                   1004                             CLA_0078184
                   1005                             CLA_0194351
                   1402                             CLA_0191959
                   1403                             CLA_0191961
                   1404                             CLA_0191962
                   1435                             CLA_0191967
                   1500                             CLA_0078000
                   1501                             CLA_0078001
                   1502                             CLA_0078019
                   1503                             CLA_0078020
                   1504                             CLA_0081132
                   1505                             CLA_0191549
                   1506                             CLA_0191550
                   1507                             CLA_0191582
                   1508                             CLA_0192748
                   1600                             CLA_0192298
                   1601                             CLA_0192302
                   1700                             CLA_0078049
                   1701                             CLA_0193036
                   1702                             CLA_0193037
                   1735                             CLA_0078050
                   1801                             CLA_0075620
                   1802                             CLA_0075976
                   1803                             CLA_0075977
                   1804                             CLA_0168565
                   1805                             CLA_0199023
                   1806                             CLA_0199024
                   3000                             CLA_0192724
                   3001                             CLA_0192747
                   6000                             CLA_0074707
                   6001                             CLA_0078018
                   6002                             CLA_0078153
                   6003                             CLA_0078156
                   6004                             CLA_0078157
                   6005                             CLA_0078158
                   6006                             CLA_0078161
                   6007                             CLA_0078163
                   6008                             CLA_0078164
                   6009                             CLA_0078783
                   6010                             CLA_0082918
                   6011                             CLA_0082919
                   6012                             CLA_0085948
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           Trial Exhibit Number                     Bates Number
                   6013                             CLA_0085950
                   6014                             CLA_0108324
                   6015                             CLA_0108325
                   6016                             CLA_0108373
                   6017                             CLA_0109225
                   6018                             CLA_0109226
                   6019                             CLA_0109566
                   6020                             CLA_0109567
                   6021                             CLA_0132729
                   6022                             CLA_0132730
                   6023                             CLA_0132741
                   6024                             CLA_0132742
                   6025                             CLA_0132762
                   6026                             CLA_0132764
                   6027                             CLA_0132770
                   6028                             CLA_0133075
                   6029                             CLA_0133076
                   6030                             CLA_0133108
                   6031                             CLA_0133109
                   6032                             CLA_0133156
                   6033                             CLA_0133157
                   6034                             CLA_0133286
                   6035                             CLA_0133332
                   6036                             CLA_0133333
                   6037                             CLA_0133337
                   6038                             CLA_0133338
                   6039                             CLA_0133441
                   6040                             CLA_0133442
                   6041                             CLA_0143329
                   6042                             CLA_0143330
                   6043                             CLA_0143373
                   6044                             CLA_0143374
                   6045                             CLA_0192187
                   6046                             CLA_0192603
                   6047                             CLA_0192604
                   6048                             CLA_0192768
                   6049                             CLA_0192878
                   6050                             CLA_0192879
                   6051                             CLA_0192880
                   6052                             CLA_0193330
                   6053                             CLA_0193572
                   6054                             CLA_0193616
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           Trial Exhibit Number                     Bates Number
                   6055                             CLA_0193683
                   6056                             CLA_0193709
                   6057                             CLA_0193773
                   6058                             CLA_0194009
                   6059                             CLA_0194046
                   6060                             CLA_0194106
                   6061                             CLA_0194188
                   6062                             CLA_0194190
                   6063                             CLA_0194534
                   6064                             CLA_0194544
                   6065                             CLA_0195273
                   6066                             CLA_0195900
                   6067                             CLA_0197024
                   6068                             CLA_0197025
                   6069                             CLA_0197026
                   6070                             CLA_0197027
                   6071                             CLA_0197028
                   6072                             CLA_0197029
                   6073                             CLA_0197493
                   6074                             CLA_0197495
                   6075                             CLA_0198168
                   6076                             CLA_0198169
                   6077                             CLA_0223256
                   6078                             CLA_0223257
                   6079                             CLA_0228816
                   6080                             CLA_0228817
                   7001                             CLA_0145568
                   9002                             CLA_0076101
                   9003                             CLA_0133358
                   9004                             CLA_0192875
                   9005                             CLA_0192979
                   9006                             CLA_0193082
                   9007                             CLA_0193089
                   9008                             CLA_0193192
                   9142                             CLA_0075888
                   9143                             CLA_0133351
                   9144                             CLA_0242816
                    319                           CLAXTON_0178609
                    500                           CLAXTON_0014869
                    501                           CLAXTON_0022760
                    502                           CLAXTON_0022761
                    503                           CLAXTON_0089312
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           Trial Exhibit Number                     Bates Number
                     504                          CLAXTON_0089372
                     505                          CLAXTON_0089378
                     506                          CLAXTON_0173792
                     507                          CLAXTON_0173798
                     508                          CLAXTON_0178815
                     579                          CLAXTON_0089306
                    1509                          CLAXTON_0012420
                    1703                          CLAXTON_0012417
                    1704                          CLAXTON_0012419
                    3002                          CLAXTON_0137666
                    3081                          CLAXTON_0011443
                    3082                          CLAXTON_0011461
                    6081                          CLAXTON_0000986
                    6082                          CLAXTON_0013238
                    6083                          CLAXTON_0121531
                    6084                          CLAXTON_0136239
   355, 982, 1238, 1427, 1615, 1734, 8010         CLAXTON_0181706
                    9009                          CLAXTON_0087905
                    9145                          CLAXTON_0000081
                    9146                          CLAXTON_0011048
                    9147                          CLAXTON_0024099
                    9010                          CLAXTON_0181697
                     319                          CLAXTON_0178609
                     500                          CLAXTON_0014869
                     501                          CLAXTON_0022760
                     502                          CLAXTON_0022761
                     503                          CLAXTON_0089312
                     504                          CLAXTON_0089372
